                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DIVISION
                                Case No. 5:19-cv-00475-BO

JASON WILLIAMS,                                   MOTION TO WITHDRAW AS
                  Plaintiff,                      COUNSEL
          v.

AT&T MOBILITY, LLC,
                  Defendant.


        Now comes Dwayne D. Sam, Esq., an attorney with the law firm of Pierce Bainbridge Beck

Price & Hecht LLP, and hereby moves to withdraw as counsel for the plaintiff in this action. No

scheduled hearing or trial will be delayed by the withdrawal of Mr. Sam.

        After April 1, 2020, Mr. Sam will no longer be associated with Pierce Bainbridge Beck Price

& Hecht LLP. Notwithstanding Mr. Sam’s departure, Christopher LaVigne, Patrick A. Bradford and

William Geraci of the law firm of Pierce Bainbridge Beck Price & Hecht LLP, will continue to

represent the plaintiff in this action, and Terence S. Reynolds and Lucas D. Garber of the law firm of

Shumaker Loop & Kendrick LLP, shall continue to serve as Local Civil Rule 83.1 Counsel for the

plaintiff in this action.

        Accordingly, Dwayne D. Sam respectfully requests that the Court grant his leave to withdraw

as counsel and grant such other relief as the Court deems appropriate. Counsel for the defendant has

consented to this motion.

        [Signature Page Follows]




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                           /s/ Dwayne D. Sam
                           Dwayne D. Sam
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                           Attorney for Plaintiff Jason Williams

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                           Local Civil Rule 83.1(d) Counsel for Plaintiff Jason
                           Williams




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date, April 1, 2020, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

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Counsel for Defendant AT&T Mobility, LLC


Dated: April 1, 2020

                                                  /s/ Terence S. Reynolds
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                                                  Local Civil Rule 83.1(d) Counsel for Plaintiff
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